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This order is SIGNED.


Dated: December 23, 2020




   Order Prepared and Submitted by:
   Matthew M. Boley (8536)
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   Telephone: (801) 363-4300
   E-mail: mboley@ck.law
   Attorneys for Reorganized Debtor
   DESERT LAKE GROUP, LLC
                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


    In re:
                                                                 Bankruptcy No. 20-22496
    DESERT LAKE GROUP, LLC,
    a/k/a 4BUSH HOLDINGS LLC,                                          Chapter 11
                                                                   (Under Subchapter V)
                 Debtor.


                 FINAL DECREE, ORDER CLOSING CASE, AND
      ORDER TERMINATING AND DISCHARGING THE SUBCHAPTER V TRUSTEE

             This matter is before the Court upon the Motion for Entry of Final Decree and Order

   (A) Closing Case and (B) Terminating and Discharging the Subchapter V Trustee, dated

   September 25, 2020 [Docket No. 133] (the “Motion”), filed by DESERT LAKE GROUP, LLC

   a/k/a 4BUSH HOLDINGS LLC, reorganized debtor (the “Debtor” or the “Reorganized

   Debtor”) in the above-captioned bankruptcy case (the “Case”).

             After reviewing the Motion and such other matters of record as the Court deemed

   appropriate, in light of the undisputed facts set forth in the Motion, and after considering such
   other and further matters as the Court deemed appropriate, the Court hereby


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          FINDS AND CONCLUDES as follows:

          A.        the Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334;

          B.        the Motion presents a core proceeding pursuant to 28 U.S.C. § 157;

          C.        notice of the Motion, and of the opportunity for hearing thereon, was sent to

 parties in interest in accordance with the Federal Rules of Bankruptcy Procedure, and such notice

 was adequate and proper within the meaning of 11 U.S.C. § 102(1);

          D.        no creditor, party-in-interest or other person has objected to the Motion or to the

 relief requested therein;

          E.        the Order Confirming Debtor’s Plan under Subchapter V of Chapter 11 [Docket

 No. 115] (the “Confirmation Order”) has become final, and the “Effective Date” of the

 Debtor’s Plan under Subchapter V of Chapter 11 dated July 23, 2020 (as modified by and

 confirmed by the Confirmation Order, the “Confirmed Plan” or the “Debtor’s Plan”) occurred

 on October 15, 2020;

          F.        the Debtor’s Plan was confirmed pursuant to section 1191(a) of the Bankruptcy

 Code; thus, the provisions of subchapter V of chapter 11 of the Bankruptcy Code specific to a

 plan confirmed by “cram down” under subsection 1191(b) do not apply;

          G.        from and after the Effective Date, the Debtor has acted as Reorganized Debtor
 pursuant to the terms and conditions of the Confirmation Order and the Confirmed Plan;

          H.        all property of the bankruptcy estate has been vested in the Debtor in its capacity

 as Reorganized Debtor;

          I.        all claims Bar Dates have passed;

          J.        the Reorganized Debtor has completed an analysis of all claims, and has

 completed all claims litigation;

          K.        the Reorganized Debtor has commenced making payments and distributions as
 contemplated under the Confirmed Plan;


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          L.        all motions, claim objections, contested matters and adversary proceedings arising

 in, arising under or relating to the Case have been, or concurrent with entry of this order are,

 finally resolved;

          M.        the Reorganized Debtor has determined that there is no further need for active

 administration and oversight of the Case by the Court at this time;

          N.        on November 23, 2020, the Reorganized Debtor filed in the Case its Notice of

 Substantial Consummation of Confirmed Plan under Subchapter V of Chapter 11 [Docket No.

 132] (“Notice of Substantial Consummation”), and thereafter served said notice upon parties-

 in-interest;

          O.        continued service of D. Ray Strong as the “Subchapter V Trustee” is not

 necessary under the Confirmed Plan or under any applicable provision of the Bankruptcy Code;

          P.        consistent with the provisions of the Confirmed Plan and the applicable

 provisions of the Bankruptcy Code, this Order terminates, discharges and releases the Subchapter

 V Trustee;

          Q.        the Debtor’s chapter 11 bankruptcy estate has been fully administered;

          R.        the legal and factual bases set forth in the Motion establish good cause for the

 relief granted herein; and
          S.        the Motion is well taken, and should be granted.

          WHEREFORE, based upon the Motion, the foregoing findings and conclusions and other

 matters of record, and good cause appearing, it hereby is

          ORDERED that:

          1.        the Motion and the relief requested in the Motion shall be, and hereby is,

 GRANTED;

          2.        the permanent injunctions under paragraphs 4 and 5 of the Confirmation Order
 and under the Confirmed Plan, including sections 5.7, 5.8, 13.1, 13.2, 13.3, 13.4 and 13.5

 thereof, are not abated or affected by this order, and shall remain in full force and effect;
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           3.       pursuant to section 11.4.3 of the Confirmed Plan and 11 U.S.C. § 350(b), the

 Reorganized Debtor or the Subchapter V Trustee may obtain entry of an order reopening the

 Case if necessary to obtain any relief or order from the Court consistent with the Confirmed

 Plan;

           4.       pursuant to 11 U.S.C. § 1183(c) and the terms of the Confirmed Plan, the service

 of D. Ray Strong as Subchapter V Trustee shall be, and hereby is, terminated, and D. Ray Strong

 is released and discharged from further obligations as trustee relating to the Case or the

 Reorganized Debtor;

           5.       this Order constitutes a “Final Decree” in the Case; and

           6.       pursuant to 11 U.S.C. § 350, Federal Rule of Bankruptcy Procedure 3022 and

 Local Rule 3022-1, this Case shall be, and hereby is, CLOSED.

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                           DESIGNATION OF PARTIES TO BE SERVED

        Service of the foregoing ORDER shall be made to the parties and in the manner
 designated below:

 By Electronic Service: I certify that the parties of record in this case as identified below, are
 registered CM/ECF users, and will be served notice of entry of the foregoing Order through the
 CM/ECF System:

    •  Matthew M. Boley mboley@ck.law, klopez@ck.law
    •  D. Ray Strong tr rstrong@thinkbrg.com,
      UT30@ecfcbis.com;drstrong@ecf.axosfs.com
    • United States Trustee USTPRegion19.SK.ECF@usdoj.gov
    • Melinda Willden tr melinda.willden@usdoj.gov,
      Lindsey.Huston@usdoj.gov;James.Gee@usdoj.gov;Rinehart.Peshell@usdoj.gov

 By U.S. Mail: In addition to the parties of record receiving notice through the CM/ECF system,
 the following parties should be served notice pursuant to Fed. R. Civ. P. 5(b).

                    None

                    If there are additional parties list the names and addresses of the additional
                    parties.

                   All parties on the Court’s official case matrix.



                                                     /s/ Matthew M. Boley




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